                        UNlTED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA


UNlTED ST ATES OF AMERICA,              )
                                        )       Magistrate Case
                                                                       '23 MJ01859
                                                                   o._ _ __
             Plaintiff,                 )
                                        )      COMPLAINT FOR VIOLATION OF:
                 V.                     )
                                        )      Title 8, U.S.C., Section 1326
Victor David RODRIGUEZ,                 )      Attempted Entry after Deportation
                                        )
             Defendant.                 )


      The unders igned complainant, being duly sworn states:

       On or about May 25, 2023 within the Southern District of California,
Defendant Victor David RODRIGUEZ, an alien, who previously had been excluded,
deported and removed from the United States to Mexico, attempted to enter the
United States with the purpose; i.e. conscious desire, to enter the United States at the
Otay Mesa, California Port of Entry, without the Attorney General of the United
States or his designated successor, the Secretary of the Department of Homeland
Security (Title 6, Un ited States Code, Sections 202(3) and (4), and 557), having
expressly consented to the Defendant's reapplication for admission into the United
States; in violation ofTitle 8, UnHed States Code, Section 1326.

      And the complainant states that this complaint is based on the attached
statement of facts, which is incorporated herein by referencf f .


                                       SIGNATURE OF COMPLAINANT
                                       Adriana A. Bums, CBP Officer
                                       U.S. Customs and Border Protection

Sworn and attested to under oath by telephone, in accordance with Federal Rule of
C riminal Procedure 4. 1, this 26 th of May 2023.

                                                   ~~+l-~
                                        HON. ALLISON H . GODDARD
                                        UNITED STATES MAGISTRATE JUDGE
                       PROBABLE CAUSE ST ATEME T

On May 25, 2023, at approximately 7:44 A.M., Victor David RODRIGUEZ
(Defendant), applied for admission into the United States from Mexico via the
Otay Mesa, California Port of Entry pedestrian primary lanes. Upon inspection
before a United States Customs and Border Protection (CBP) Officer, Defendant
orally claimed to be a United States citizen going to Stockton, California.
Defendant said he last entered the United States approximately four to five months
ago. The CBP Officer elected to refer Defendant to secondary for further
inspection.

In secondary, Defendant true identity was ascertained. Defendant was searched by
fingerprint and photograph submission through the Automated Biometric
Identification System (!DENT) and the Integrated Automated Fingerprint
Identification System (IAFIS). IDENT and IAFIS returned a match to the query
linking Defendant to Federal Bureau of Investigation (FBI) and Department of
Homeland Security (DHS) records. OHS records identified Defendant as a citizen
of Mexico and a previously deported alien.

Further DHS records confirmed Defendant ts a c1t1zen of Mexico without
documents or entitlements to enter the United States. OHS records revealed
Defendant was ordered removed from the United States to Mexico by an
Immigration Judge on or about April 11, 20 I 8, and subsequently physically
removed from the United States to Mexico on or about April 12, 2018, via San
Ysidro, California. Defendant was last physically removed from the United States
to Mexico on or about February 22, 2023, via Alexandria, Louisiana pursuant to a
Reinstatement of Deport Order. OHS records contain no evidence Defendant has
applied for or received permission from the Attorney General of the United States
or his designated successor, the Secretary of the Department Homeland Security, to
legally re-enter the United States.

At approximately 11: 13 A.M., during a video-recorded interview, Defendant was
advised of his Miranda rights and elected to make a statement. Defendant admitted
he is a citizen of Mexico without documents to enter, pass through or reside in the
United States. Defendant stated he is aware it is against the law to attempt to enter
the United States without lawful documents. Defendant admitted to having been
previously removed from the United States to Mexico by an Immigration Judge.
